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                                                  UNITED STATES BANKRUPTCY COURT
                                                          DISTRICT OF CONNECTICUT

                                In re:                                               Case No.: 3:18-bk-31137 amn

                                ANTHONY WILLIAM RICH JR.                             Chapter: 7

                                                     Debtor.                         ECF No.: 20
                           _____________________________________/


                                                    AMENDED CERTIFICATE OF SERVICE


                                In accordance with the applicable provisions of the Federal Rules of

                           Bankruptcy Procedure, 2002 and 7004, the undersigned certifies that on the 25th

                           day of FEBRUARY, 2019, the following documents were served on the U.S.

                           Trustee and all appearing parties via the court’s electronic filing system, or by first

                           class mail on the parties listed in section 2 below.

                           1. Documents Served:

                                1. Motion to Re-Open Bankruptcy (ECF No. 19)

                                2. Proposed Order (ECF No. 19)

                                3. Notice of Contested Matter Response Date (ECF No. 19)


                           2. Parties Served via First Class Mail:

                            1. Anthony
                               1        William Rich Jr.                    2. American Medical Response
                               11
                               . Nathans Path                                  Attn: Edward Van Horne, CEO
                               Wallingford, CT 06492                           6363 S Fiddlers Green Cir 14th Flr
                                                                               Englewood, CO 80111

                            3. Bendett & McHugh PC                          4. Enterprise Rent-A-Car
                               Attn: Nicole M. FitzGerald, Esq.                Attn: David K. Nestor, Sr. V.P.
INZITARI LAW OFFICE, LLC       270 Farmington Ave Ste 151                      600 Corporate Park Drive
     PO BOX 261392
 HARTFORD, CT 06126-1392       Farmington, CT 06032-1926                       Saint Louis, MO 63105
    TEL: (860) 863-4574
    FAX: (860) 863-4625
  FIRM JURIS NO. 434419
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                            5. BCAT 2017-19TT                            6. CT Dept. of Revenue Srvcs.
                               c/o Wilmington Savng. Fund Scty FSB          Bankruptcy Unit
                               d/b/a Christiana Trust, Trustee              Attn: Pamela D. Calachan
                               Attn: Louis W. Geibel, President             450 Columbus Blvd Ste 1
                               500 Delaware Ave., 11th Flr.                 Hartford, CT 06103-1837
                               Wilmington, DE 19801

                            7. Ford Motor Credit Company LLC             8. Internal Revenue Service
                               Attn: David McClelland, CEO                  Attn: Central. Insolvency Operation
                               PO Box 537901                                PO Box 7346
                               Livonia, MI 48153-7901                       Philadelphia, PA 19101-7346

                            9. Robert A. Johnson, CPA, LLC              10. Selene Finance LP
                               Attn: Robert A. Johnson                      Attn: Joseph Pensabene, CEO
                               99 Cherry St.                                9990 Richmond Ave Ste 400
                               Milford, CT 06460                            Houston, TX 77042-4546

                           11. Tony's Trucking CO., Inc.                12. Town of Jefferson, Maine
                               Attn: Richard Pulcinella, Owner              Attn: Ann Bond, Tax Collector
                               PO Box 2275                                  PO Box 77
                               Meriden, CT 06450                            Jefferson, ME 04348

                           13. Town of Wallingford                      14. Wallingford Electric Division
                               Tax Collection Office                        Attn: Tony Buccheri, Gen. Mgr.
                               Attn: Jo-Anne Rusczek, Tax Collector         100 John St
                               45 S Main St Rm 209                          Wallingford, CT 06492-4410
                               Wallingford, CT 06492-4201



                                Dated at GUILFORD, CONNECTICUT this 25th day of FEBRUARY, 2019.




                                                                         _______________________________
                                                                         MICHAEL J. HABIB, ESQ. (CT29412)




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